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 6
                              UNITED STATES DISTRICT COURT
 7
                                   DISTRICT OF NEVADA
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 9
     UNITED STATES OF AMERICA                  )
10                                             )
                                               )
11                       Plaintiff,            )       2:10-CR-407-RLH-RJJ
                 vs.                           )
12                                             )
   COREY SMILEY,                               )
13                                             )
                         Defendant.            )        ORDER
14 ____________________________________)
                 .
15
          IT IS HEREBY ORDERED that attorney, Richard E. Tanasi, is appointed as counsel for
16
   Corey Smiley in place of Robert Draskovich for all future proceeding.
17
          Mr. Draskovich shall forward the file to Mr. Tanasi forthwith.
18
         DATED this 17th day of May, 2011.
19       Nunc Pro Tunc : May 13, 2011
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                                                  _______________________________
21                                                Robert J. Johnston
                                                  United States Magistrate Judge
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